                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      NADINE JOHNSON                                                       CASE NO.:      19-44649
                                                                           CHAPTER:       13
            DEBTOR.                                                        JUDGE:         RANDON
_________________________________/

  OBJECTION TO PROOF OF CLAIM OF MICHIGAN DEPARTMENT OF TREASURY #7-1

        Debtor, by and through Counsel, Frego & Associates, The Bankruptcy Law Office, P.L.C., hereby
objects to the proof of claim filed by Michigan Department of Treasury, and states as follows:

    1. Debtor filed for Bankruptcy protection on or about March 28, 2019.
    2. On or about September 19, 2019, creditor Michigan Department of Treasury (hereafter “creditor”)
       filed a Proof of Claim #7-1 (hereafter “Proof of Claim”).

    3. The Proof of Claim states that $5419.12 is owed to the creditor for estimated 2018 income taxes.
       Of the $5914.12, $5338.62 is priority and $80.50 is unsecured.

    4. Debtor filed her 2018 income tax return. The amount debtor owes is $699.00, significantly below
       the current Proof of Claim.

    5. Therefore, the Proof of Claim #7-1 shall be modified to reflect a total debt of $699.00.


        WHEREFORE, Debtor prays this Honorable Court modify the Proof of Claim #7-1 filed by
Michigan Department of Treasury; further Debtor requests the Court order other such relief the Court
finds just and proper.

Dated: March 4, 2021                         /s/ Elizabeth Train
                                            Elizabeth Train (P62549)
                                            Attorney for Debtor
                                            Frego and Associates-The Bankruptcy Law Office, PLC
                                            23843 Joy Road
                                            Dearborn Heights, MI 48127
                                            (313) 724-5088
                                            fregolaw@aol.com




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                                   UNITED STATES BANKRUPTCY COURT
                                     EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION - DETROIT

IN THE MATTER OF:
      NADINE JOHNSON                                                                CASE NO.:        19-44649
                                                                                    CHAPTER:         13
            DEBTOR.                                                                 JUDGE:           RANDON
_________________________________/

                                     NOTICE OF OBJECTION TO CLAIM

Debtor has filed an objection to your claim in this bankruptcy case.

        Your rights may be reduced, modified or denied. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an attorney, you may
wish to consult one.)

        If you do not want the court to deny or change your claim, then on or before March 31, 2021 ______ ,
you or your attorney must:

    1.           File with the court a written response to the objection, explaining your position at:1

                 United State Bankruptcy Court
                 211 W. Fort Street, Suite 2100
                 Detroit, MI 48226

        If you mail your response to the court for filing, you must mail it early enough so the court will receive it
on or before the date stated above.
         You must also mail a copy to:
                 Nadine Johnson             James P. Frego                  Krispen S. Carroll
                 28494 Rosewood             23843 Joy Rd                    Chapter 13 Trustee
                 Inkster, MI 48141          Dearborn Heights, MI 48127      719 Griswold, Suite 1100
                                                                             Detroit, MI 48226
    2.           Attend the hearing on the objection, scheduled to be held on April 7, 2021     , at 10:00 a.m. (or
                 as soon after as counsel can be heard) in Courtroom 1825, United States Courthouse, 211 W. Fort
                 St. Detroit, Mi 48226, unless your attendance is excused by mutual agreement between yourself
                 and the objector's attorney.

        If you or your attorney does not take these steps, the Court may deem that you do not oppose the
objection to your claim, in which event the hearing will be canceled, and the objection sustained.

Dated: March 4, 2021                                  /s/ Elizabeth Train
                                                     Elizabeth Train (P62549)
                                                     Attorney for Debtor
                                                     Frego and Associates-The Bankruptcy Law Office, PLC
                                                     23843 Joy Road
                                                     Dearborn Heights, MI 48127
                                                     (313) 724-5088
                                                     fregolaw@aol.com

1
 Response or answer must comply with F.R.Civ. P. 8(b), (c) and (e).

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IN THE MATTER OF:
      NADINE JOHNSON                                                      CASE NO.:      19-44649
                                                                          CHAPTER:       13
            DEBTOR.                                                       JUDGE:         RANDON
_________________________________/

                    ORDER GRANTING OBJECTION TO PROOF OF CLAIM
                     OF MICHIGAN DEPARTMENT OF TREASURY, #7-1

        This matter having come on for hearing before the Court by way of the objection of the debtor to
the allowance of the claim of the above referenced creditor, service having been made with a notice of
hearing allowing a thirty (30) day notice pursuant to Bankruptcy Rule 3007, a hearing having been held,
the court having heard the matter in open court and for the reasons stated on the record:
       NOW THEREFORE, IT IS HEREBY ORDERED:
        The objection to the Proof of Claim filed by the above-referenced creditor is hereby granted. To
the extent that the Chapter 13 Standing Trustee has previously made disbursements to such creditor, the
Trustee shall not be obligated to recoup same.
       IT IS FURTHER ORDERED as follows:
       1.       The Proof of Claim filed by Michigan Department of Treasury (Docket #7-1) is modified
as follows: the total debt on the claim is $699.00. The Priority amount shall be $699.00 and the unsecured
general amount shall be modified to $0.00.



                                            ______________________________________
                                            UNITED STATES BANKRUPTCY JUDGE



                                                Exhibit A

                                        “PROPOSED ORDER”




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